                                                                                                 Case 2:21-cv-00597-JCM-EJY Document 17 Filed 07/27/21 Page 1 of 2



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                                                                                          12                                UNITED STATES DISTRICT COURT
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                                                                                          13                                 FOR THE DISTRICT OF NEVADA
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                                                                                          14   SHANICE WORTHAM, an individual,                    Case No.: 2:21-cv-00597-JCM-EJY
                                                                                          15                         Plaintiff,
                                                                                          16   vs.                                                 JOINT NOTICE OF SETTLEMENT
                                                                                          17   OFFICIAL SECURITY, INC., a Nevada
                                                                                               corporation; DOES I-X, inclusive; and ROE
                                                                                          18   CORPORATIONS I-X, inclusive,
                                                                                          19                         Defendants.
                                                                                          20

                                                                                          21          Plaintiff Shanice Wortham and Defendant Official Security, Inc., by and through their
                                                                                          22   respective undersigned counsel of record, hereby give notice that the above-referenced matter has
                                                                                          23   been resolved.
                                                                                          24   ...
                                                                                          25   ...
                                                                                          26   ...
                                                                                          27   ...
                                                                                          28   ...
                                                                                                 Case 2:21-cv-00597-JCM-EJY Document 17 Filed 07/27/21 Page 2 of 2



                                                                                           1          A stipulated dismissal and any other closing documents will be filed with the Court within
                                                                                           2   thirty (30) days.
                                                                                           3   DATED this 27th day of July, 2021.            DATED this 27th day of July, 2021.
                                                                                           4   JENNINGS & FULTON, LTD.                       OGLETREE, DEAKINS, NASH, SMOAK & STEWART,
                                                                                           5                                                 P.C.

                                                                                           6   /s/ Logan G. Willson                          /s/ Dana B. Salmonson
                                                                                               Adam R. Fulton                                Anthony L. Martin
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